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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 19-63007-CIV-ALTMAN/Hunt

  BROWARD COUNTY, a political
  subdivision of the State of Florida,

                     Plaintiff,

  v.

  BEAZLEY USA SERVICES, INC., a/k/a
  SYNDICATE 2623/623 at LLOYD’S, a for-
  profit corporation,

                     Defendant.


 CERTAIN UNDERWRITERS AT LLOYD’S,
 LONDON, SYNDICATES 2623/623

                     Third-Party Plaintiff,
 v.

 HUB PARKING TECHNOLOGY USA, INC., a
 Delaware Corporation, SP PLUS
 CORPORATION, a Delaware Corporation,

                     Third-Party Defendants.

  ________________________________________/
                                  THIRD-PARTY COMPLAINT

         Pursuant to Rule 14 of the Federal Rules of Civil Procedure, Defendant/Third-Party

  Plaintiff Certain Underwriters at Lloyd’s, London, Syndicates 2623/623 (“Beazley”), 1 files this

  Third-Party Complaint against Third-Party Defendants, HUB Parking Technology USA, Inc.

  (“HUB Parking”) and SP Plus Corporation (“SP Plus”) and alleges:




  1
   Plaintiff erroneously sued Certain Underwriters at Lloyd’s, London, Syndicates 2623/623 as
  “Beazley USA Services, Inc. a/k/a Syndicate 2623/623 at Lloyd’s.”
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                              PARTIES, JURISDICTION, AND VENUE

          1.     Beazley is, and at all relevant times was, comprised of insurance syndicates 623

  and 2623 formed and existing under the laws of the United Kingdom with their principal place of

  business in London, England.

          2.     Specifically, syndicates 623 and 2623 subscribe to Policy No. W13EDF180601, the

  insurance policy issued to Broward County (the “County”) that is referenced in the County’s

  Complaint in this action.

          3.     Syndicates 623 and 2623 are exclusively comprised of Names that are citizens of

  the United Kingdom and, as such, are citizens of a foreign state within the meaning of 28 U.S.C.

  §1332(c)(1).

          4.     HUB Parking is a Delaware corporation with its principal place of business in

  Warrendale, Pennsylvania.

          5.     SP Plus is a Delaware corporation with its principal place of business in Chicago,

  Illinois.

          6.     This Court has jurisdiction over this Third-Party Complaint pursuant to 28 U.S.C.

  § 1367 because the claims alleged herein form part of the same case and controversy alleged in

  the Complaint in this action over which this Court has original diversity jurisdiction.

          7.     This Court also has jurisdiction over this action pursuant to 28 U.S.C. § 1332 in

  that there is complete diversity between Beazley, on the one hand, and HUB Parking and SP Plus

  on the other hand, and the amount in controversy exceeds the sum of $75,000, exclusive of interest

  and costs.

          8.     Venue is proper in this District because the venue asserted in the Complaint is this

  District.



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                                   FACTUAL ALLEGATIONS

         9.      The County filed the Complaint in this action against Beazley seeking a judicial

  declaration that Beazley has a duty to defend and indemnify the County in connection with lawsuits

  captioned Jennifer Orsi v. SP Plus Corporation, et al., Case No. 18-cv-62589-PMH (Southern

  District of Florida) and Jennifer Orsi v. SP Plus Corporation, et al., Case No. CACE19022989

  (Seventeenth Judicial Circuit of Florida, Broward County) (the “State Court Lawsuit”)

  (collectively, the “Orsi Matter”) under Beazley Breach Response Policy No. W13EDF180601

  issued to the County for the November 4, 2018 to November 4, 2019 Policy Period (the “Policy”).

  A copy of the Policy is attached as Exhibit A.

         10.     The Orsi Matter is a purported class action against the County, HUB Parking, and

  SP Plus, for violation of the Fair and Accurate Credit Transaction Act (“FACTA”) involving

  parking receipts issued at Fort-Lauderdale Hollywood International Airport (the “Airport”).

         11.     The subject receipts allegedly displayed more than the last five digits of credit or

  debit card numbers in violation of FACTA.

         12.     At all times material to the allegations contained in the Orsi Matter, the County and

  HUB Parking were parties to an agreement whereby HUB Parking provided software, equipment,

  and associated maintenance thereof, with such software and equipment being used in connection

  with parking facilities and parking operations at the Airport (the "HUB Agreement"). A copy of

  the HUB Agreement is attached as Exhibit B.

         13.     At all times material to the allegations contained in the Orsi Matter, the County and

  SP Plus were parties to an agreement whereby SP Plus provided management services related to

  parking facilities and parking operations at the Airport (the "SP Plus Agreement"). A copy of the

  SP Plus Agreement is attached as Exhibit C.



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                              COUNT I – DECLARATORY RELIEF
                        (HUB PARKING HAS PRIMARY DUTY TO DEFEND
                               AND INDEMNIFY THE COUNTY)

         14.     Beazley realleges and reincorporates Paragraphs 1 through 13 above.

         15.     The HUB Agreement is, and has been at all times material hereto, a valid and

  enforceable agreement between the County and HUB Parking.

         16.     The HUB Agreement remains in full force and effect.

         17.     Pursuant to Article 8 of the HUB Agreement, HUB Parking has a duty to indemnify,

  hold harmless, and defend the County against any lawsuits, causes of actions, demands, claims,

  losses, fines, penalties, damages, judgments, liabilities, and expenditures of any kind, including

  but not limited to attorney's fees, caused or alleged to be caused by any intentional, reckless, or

  negligent act or omissions of HUB Parking, arising from, relating to, or in connection with any

  obligation or performance under the HUB Agreement.

         18.     Pursuant to the HUB Agreement, HUB Parking has a duty to defend and indemnify

  the County in connection with the Orsi Matter that is primary to any obligation that Beazley may

  have under the Policy with respect to the Orsi Matter.

         19.     In addition, Beazley is subrogated to the County’s indemnity rights against HUB

  Parking pursuant to the Subrogation provision of the Policy’s General Conditions.

         20.     An actual and justiciable controversy exists between Beazley and HUB Parking

  regarding HUB Parking’s obligations to the County under the HUB Agreement insofar as HUB

  contends that it does not have an obligation to defend and indemnify the County in connection

  with the Orsi Matter that is primary to any obligation Beazley may have under the Policy while

  Beazley contends that HUB Parking does have an obligation to defend and indemnify the County

  in connection with the Orsi Matter under the HUB Agreement that is primary to any obligation

  Beazley may have under the Policy.

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         21.     By virtue of the foregoing, Beazley is entitled to a judgment declaring that HUB

  Parking has an obligation to defend and indemnify the County in connection with the Orsi Matter

  that is primary to any obligation Beazley may have under the Policy.

         WHEREFORE, Beazley respectfully requests that the Court enter judgment in Beazley’s

  favor and against HUB Parking and declare that HUB Parking has an obligation to defend and

  indemnify the County in connection with the Orsi Matter that is primary to any obligation Beazley

  may have under the Policy, and for such other relief as the Court deems just and proper.

                                 COUNT II – DECLARATORY RELIEF
                             (SP PLUS HAS PRIMARY DUTY TO DEFEND
                                  AND INDEMNIFY THE COUNTY)

         22.     Beazley realleges and reincorporates Paragraphs 1 through 13 above.

         23.     The SP Plus Agreement is, and has been at all times material hereto, a valid and

  enforceable agreement between the County and SP Plus.

         24.     The SP Plus Agreement remains in full force and effect.

         25.     Pursuant to Article X of the SP Plus Agreement, SP Plus has a duty to indemnify,

  hold harmless, and defend the County against any claims, losses, liabilities, and expenditures of

  any kind, including but not limited to attorney's fees, caused by any negligence, recklessness, or

  intentionally wrongful conduct by SP Plus, accruing, resulting from, or related to the subject matter

  of the SP Plus Agreement.

         26.     Pursuant to the SP Plus Agreement, SP Plus’ duty to defend and indemnify the

  County in connection with the Orsi Matter is primary to any obligation that Beazley may have

  under the Policy.

         27.     In addition, Beazley is subrogated to the County’s indemnity rights against SP Plus

  pursuant to the Subrogation provision of the Policy’s General Conditions.



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         28.     An actual and justiciable controversy exists between Beazley and SP Plus regarding

  SP Plus’ obligations to the County under the SP Plus Agreement insofar as SP Plus contends that

  it does not have an obligation to defend and indemnify the County in connection with the Orsi

  Matter that is primary to any obligation Beazley may have under the Policy while Beazley contends

  that SP Plus does have an obligation to defend and indemnify the County in connection with the

  Orsi Matter under the SP Plus Agreement that is primary to any obligation Beazley may have

  under the Policy.

         29.     By virtue of the foregoing, Beazley is entitled to a judgment declaring that SP Plus

  has an obligation to defend and indemnify the County in connection with the Orsi Matter that is

  primary to any obligation Beazley may have under the Policy.

         WHEREFORE, Beazley respectfully requests that the Court enter judgment in Beazley’s

  favor and against SP Plus and declare that SP Plus has an obligation to defend and indemnify the

  County in connection with the Orsi Matter that is primary to any obligation Beazley may have

  under the Policy, and for such other relief as the Court deems just and proper.




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                                                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that, on February 6, 2020, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing is being

  served this day on all counsel/parties of record either via transmission of Notices of Electronic

  Filing generated by CM/ECF or in some other authorized manner for those counsel who are not

  authorized to receive electronically Notices of Electronic Filing.


                                                By: /s/ Caitlin M. Trowbridge
                                                      Caitlin M. Trowbridge




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